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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MISSOURI
                            EASTERN DIVISION

LUCAS D. KENDALL, SCRAP MART                         )
PROPERTIES, LLC and SCRAP MART LLC,                  )
                                                     )
      Plaintiffs,                                    )
                                                     )
v.                                                   ) Case No. 4:21CV1353 HEA
                                                     )
CITY OF VALLEY PARK, MISSOURI, et al.,               )
                                                     )
      Defendants.                                    )

                    OPINION, MEMORANDUM AND ORDER

      This matter is before the Court on Defendants’ Motion for Clarification,

[Doc. No. 123], Plaintiffs’ Motion to Amend Dismissal Judgment or, in the

Alternative, to Clarify the Dismissal Judgment, [Doc. No. 124], Plaintiffs’ Motion

for Leave to File Third Amended Complaint, [Doc. No. 126].

                              Facts and Background

      In its Opinion, Memorandum and Order dated June 12, 2023, the Court set

out the factual background giving rise to this action. As such, facts and background

will be restated as necessary for the purposes of this Opinion.

                                        Discussion

      In its March 30, 2024 Opinion, Memorandum and Order the Court dismissed

Plaintiffs’ Second Amended Complaint for failure to state a claim under Rule

12(b)(6) of the Federal Rules of Civil Procedure. The Order detailed the
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deficiencies in the Second Amended Complaint under Ashcroft v. Iqbal, 556 U.S.

662, 678 (2009). The Court addressed the sufficiency of Plaintiffs’ Second

Amended Complaint. It did not address the merits of Plaintiffs’ claims against

Defendants and as such, there was no adjudication of those claims. The dismissal

was, therefore, without prejudice. Plaintiffs did not, however seek leave to amend

their claims.

      With regard to Defendants’ Motion for Clarification regarding their

counterclaims, the Court is of the opinion that addressing the issue of supplemental

jurisdiction is premature at this time as there is currently no viable complaint

pending.

      Plaintiffs have sought leave to file a Third Amended Complaint. Defendants

are given leave to file a response to this motion within 10 days from the date of this

Order. Any response and reply regarding the Motion for Leave should include any

effect Judge Mason’s Order in the pending Circuit Court case would have on the

filing of a Third Amended Complaint.

                                     Conclusion

      Accordingly,

      IT IS HEREBY ORDERED that Defendants’ Motion for Clarification,

[Doc. No. 123], is denied without prejudice.

      IT IS FURTHER ORDERED Plaintiffs’ Motion to Amend Dismissal

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Judgment or, in the Alternative, to Clarify the Dismissal Judgment, [Doc. No.

124], granted to the extent addressed herein.

      IT IS FURHER ORDERED that Plaintiffs’ Motion for Leave to File Third

Amended Complaint, [Doc. No. 126] is taken under submission, allowing

Defendants10 days from the date of this Order to file a Response to the Motion.

      IT IS FURTHER ORDERED that Defendants’ Motion for Hearing is

denied.

      Dated this 3rd day of December, 2024.




                                ________________________________
                                   HENRY EDWARD AUTREY
                                UNITED STATES DISTRICT JUDGE




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